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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION
IN RE: NATIONAL )
PRESCRIPTION } MDL No. 2804
OPIATE LITIGATION )

} Case No.

} 1:17-MD-2804
THIS DOCUMENT RELATES }
TO ALL CASES - ) Hon. Dan A. Polster
Tuesday, August 7, 2018
HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

CONFIDENTIALITY REVIEW

Videotaped deposition of Jennifer R. Norris,
held at the offices of BakerHostetler, 200 Civic Center
Drive, Suite 1200, Columbus, Ohio, commencing at
8:09 a.m., on the above date, before Carol A. Kirk,

Registered Merit Reporter and Notary Public.

GOLKOW LITIGATION SERVICES
877.370.3377 ph | 917.591.5672 fax

deps@golkow.com

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